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                            EXHIBIT E
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                                            FIRM BIOGRAPHY

          We litigate securities, antitrust and consumer class actions. The firm also practices federal
    bankruptcy law and federal appellate law.

    The Firm’s Attorneys

                   Guri Ademi graduated from the University of Wisconsin—Milwaukee magna cum
    laude in 1990, and the University of Wisconsin Law School in 1993, serving as a Notes and
    Comments Editor for the Wisconsin Law Review. After interning with Judge Thomas Curran of
    the Eastern District of Wisconsin, he was an associate with Quarles & Brady LLP in its corporate
    finance and antitrust groups from 1993 to 2000, and an associate with Whyte Hirschboeck Dudek
    S.C. in its securities and antitrust groups from 2000 to 2001. He joined Ademi & O’Reilly, LLP
    in 2001 and heads its securities and antitrust litigation practice groups. Guri is recognized as a
    Wisconsin Super Lawyer in Wisconsin Super Lawyers.

                   Shpetim Ademi, the firm’s founder, graduated cum laude from the University of
    Wisconsin—Milwaukee in 1992, with honors in philosophy and history, and an honors thesis in
    philosophy. He graduated from the University of Wisconsin Law School in 1996. After interning
    with Judge Charles B. Schudson of the Wisconsin Court of Appeals, 1st District, he founded the
    Southside Law Office in 1996, and serves as managing partner of Ademi & O’Reilly, LLP.
    Shpetim is recognized as a Wisconsin Super Lawyer in Wisconsin Super Lawyers.

                    Robert K. O’Reilly graduated from the University of Toronto with distinction in
    1993, and from the University of Wisconsin Law School cum laude in 1996. He served as an
    Articles Editor for the Wisconsin Law Review, was elected to the Order of the Coif, and received
    the University League Award for outstanding service and scholarship to the Law School. Mr.
    O’Reilly served as a law clerk for Chief Judge James E. Shapiro of the United States Bankruptcy
    Court for the Eastern District of Wisconsin from 1996 to 1997, and Circuit Judge Daniel A.
    Manion of the United States Court of Appeals for the Seventh Circuit from 1997 to 1999. He is a
    member of Ademi & O’Reilly, LLP, joining the Firm in 1999. Mr. O'Reilly has been recognized
    numerous times on the Seventh Circuit Honor Roll for his appellate representation.

                    David J. Syrios graduated from the University of Illinois in 2000, with a degree in
    business administration and from Marquette University Law School in 2003. He is an associate,
    practicing in securities, antitrust and consumer litigation. David is recognized as a Rising Star in
    Wisconsin Super Lawyers.

                     John D. Blythin graduated cum laude from the University of Wisconsin-Madison in
    1999, with a degree in political science and from University of Wisconsin Law School in 2003. He
    is an associate, practicing in securities, antitrust and consumer litigation.
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                                               FIRM HIGHLIGHTS
     SECURITIES CLASS ACTIONS
IN RE: SPIEGEL, INC. SECURITIES LITIGATION (N. D. IL 2002)
We represented the class as Co-Lead counsel in this action. Settlement of $17.5 million.

IN RE: EFUNDS CORPORATION SECURITIES LITIGATION (D. AZ 2002)
We represented the class as Co-Lead counsel in this action. Settlement of $2.5 million.

IN RE: METAVANTE TECHNOLOGIES, INC. SECURITIES LITIGATION (MILWAUKEE COUNTY, WI 2009)
We represented the class as Co-Lead counsel in this action. Settlement of additional disclosures to shareholders.

IN RE: QUOVADX INC. SECURITIES LITIGATION (D. CO 2003)
We represented the lead plaintiff and class as counsel in this action. Settlement of $9 million.

IN RE: DHB INC. SECURITIES LITIGATION (E.D.N.Y. 2005)
We represented one of the lead plaintiffs and the class as counsel in this action. Settlement of over $40 million.

IN RE: NORTHWESTERN CORP. SECURITIES LITIGATION (D.S.D. 2003)
We represented secondary offering shareholders and certain bondholders. Settlement of $40 million.

IN RE: RAYOVAC, INC.. SECURITIES LITIGATION (W.D. WI 2003)
We represented the class as Liason counsel in this action. Settlement of $4 million.

IN RE: KANDEL V. GEHL COMPANY, ET AL. (WASHINGTON COUNTY, WI 2008)
We represented the class as Liaison counsel in this action. Settlement of additional disclosures to shareholders.

IN RE: TOMOTHERAPY, INC., SECURITIES LITIGATION (W.D. WI 2008)
We represented the class as Liaison counsel in this action. Settlement of $5 million.

IN RE: PUSKALA V. KOSS CORPORATION (E.D. WI 2010)
We represent the class as Liaison counsel in this action. Settlement of $1 million pending.

     REPRESENTATIVE RECENTLY FILED SECURITIES CLASS ACTIONS:

                    AGRIA CORP. (S.D.N.Y.)                                  ITT EDUCATIONAL SYSTEMS (S.D. IN)
               CONEXANT SYSTEMS, INC. (D. N.J.)                            MERGE TECHNOLOGIES, INC. (E.D. WI)
         CORN PRODUCTS INTERNATIONAL, INC. (N.D. IL)                         MGIC INVESTMENT CORP. (E.D. WI)
               CORUS BANKSHARES, INC. (N.D. IL)                                    OCA, INC. (E.D. LA)
                    DATATEC INC. (D. N.J.)                                       OSHKOSH CORP. (E.D.WI)
           DIRECT GENERAL CORPORATION (M.D. TN)                              PARAMETRIC CORPORATION (D. MA)
                     DIVINE, INC. (N.D. IL)                                PETCO ANIMAL SUPPLIES, INC. (S.D. CA)
                    ESCALA, INC. (S.D.N.Y.)                                       PLEXUS CORP. (E.D.WI)
             FIFTHTHIRD CORPORATION (N.D. OH)                                 R&G FINANCIAL CORP. (S.D.N.Y.)
               HARLEY-DAVIDSON, INC. (E.D. WI)                               TAKE TWO INTERACTIVE (S.D.N.Y.)
                IMPERIAL CHEMICALS (S.D.N.Y.)                                TRIPATH TECHNOLOGIES (C.D. CA)

     REPRESENTATIVE RECENTLY FILED DERIVATIVE, CORPORATE GOVERNANCE AND BUYOUT CLASS ACTIONS:

                   ALLIANT ENERGY CORP. (WI)                                   KERZNER INTERNATIONAL LTD. (CA)
               BUCYRUS INTERNATIONAL, INC. (WI)                                        LASERSCOPE (CA)
            COVAD COMMUNICATIONS GROUP, INC. (CA)                              MARVEL ENTERTAINMENT, INC. (DE)
                      GATEWAY, INC. (CA)                                         MARSHALL & ILSLEY CORP. (WI)
               GOLDEN WEST FINANCIAL CORP. (CA)                                    MERGE TECHNOLOGIES(WI)
                            I2 (TX)                                               RIGGS NATINOAL CORP. (DE)
              INTERMAGNETICS GENERAL CORP. (NY)                                 RITA MEDICAL SYSTEMS, INC. (CA)
                 JOHNSON OUTDOORS, INC. (WI)                                      SPORTSMAN GUIDE, INC. (MN)
                        KEANE , INC. (MA)                                         TRIZEC PROPERTIES, INC. (IL)
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     ANTITRUST CLASS ACTIONS
IN RE: AUTOMOTIVE REFINISHING PAINT ANTITRUST LITIGATION - MDL DKT. NO. 1426 (E.D. PA 2001)
We acted as co-counsel in more than 20 lawsuits brought against the major car paint manufacturers, including Sherwin Williams,
Akzo Nobel, DuPont, PPG Industries and BASF. Settlement of more than $108 million.

IN RE: INTERNATIONAL AIR TRANSPORTATION SURCHARGE ANTITRUST LIT. - MDL DKT. NO. 1793
(N.D. CAL 2006)
We represented the class as co-counsel in this action. Settlement of over $200 million.

BLESSING ET AL V. SIRIUS XM RADIO INC. (S.D. NY 2009)
We represented the class as co-counsel in this action. Settlement valued at over $180 million currently pending

FOND DU LAC BUMPER EXCHANGE INC V. JUI LI ENTERPRISE COMPANY LTD ET AL (E.D. WI 2010)
We represent the proposed third party payor indirect purchaser class as a Liaison Counsel in this action.

IN RE: TEXT MESSAGING ANTITRUST LITIGATION - MDL DKT. NO. 1997 (N.D. IL 2008)
We represent the proposed class on plaintiff’s executive committee in this action




     REPRESENTATIVE RECENTLY FILED ANTITRUST CLASS ACTIONS:

                 IN RE: AUTOMOTIVE WIRE HARNESS SYSTEMS ANTITRUST LITIGATION MDL NO. 2311 (E. D. MI 2011)

                       IN RE: ELECTRONIC BOOKS ANTITRUST LITIGATION MDL DKT. NO. 2293 (S.D. NY 2011)

         BOYS AND GIRLS CLUB OF THE EAST VALLEY ET AL V. NATIONAL MILK PRODUCERS FEDERATION ET AL. (N.D. CAL 2011)

                              ROBB V. NATIONAL MILK PRODUCERS FEDERATION ET AL. (N.D. CAL 2011)

                      IN RE: POLYURETHANE FOAM ANTITRUST LITIGATION MDL DKT. NO. 2196 (N.D. OH 2010)

                   IN RE: FRESH AND PROCESS POTATOES ANTITRUST LITIGATION. - MDL DKT. NO. 2186 (D. ID 2010)

                     IN RE: PHOTOCHROMIC LENS ANTITRUST LITIGATION - MDL DKT. NO. 2173 (M.D. FL 2010)

             IN RE: MUSICAL INSTRUMENTS AND EQUIPMENT ANTITRUST LITIGATION - MDL DKT. NO. 2121 (S.D. CAL 2009)

                           IN RE: ANDRO GEL ANTITRUST LITIGATION - MDL DKT. NO. 2060 (N.D. GA 2009)

        IN RE: AFTERMARKET AUTOMOTIVE LIGHTING PRODUCTS ANTITRUST LITIGATION - MDL DKT. NO. 2007 (C.D. CAL 2009)

                    IN RE: PROCESSED EGG PRODUCTS ANTITRUST LITIGATION - MDL DKT. NO. 2002 (E.D. PA 2008)

                             IN RE: POTASH ANTITRUST LITIGATION - MDL DKT. NO. 1996 (N.D. IL 2008)

                   IN RE: AFTER MARKET AUTO FILTERS ANTITRUST LITIGATION - MDL DKT. NO. 1957 (N.D. IL 2008)

                          IN RE: PACKAGED ICE ANTITRUST LITIGATION - MDL DKT. NO. 1952 (E.D. MI 2008)

                              IN RE: CHOCOLATE CONFECTIONARY - MDL DKT. NO. 1917 (N.D. PA 2008)

                      IN RE: CATHODE RAY TUBE ANTITRUST LITIGATION - MDL DKT. NO. 1917 (N.D. CAL 2008)

                                   LAFLAMME ET AL. V. SOCIETE AIR FRANCE ET AL.. (E.D. NY 2008)

                  IN RE: GRAPHICS PROCESSING UNITS ANTITRUST LITIGATION - MDL DKT. NO. 1826 (N.D. CAL 2008)

                               SKORSTAD V. SAMSUNG ELECTRONICS COMPANY, LTD (N.D. CAL 2007)
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         CONSUMER CLASS ACTIONS
MCKINNIE V. CHASE BANK (E.D. WI 2008)
We represented the class as Lead Counsel in this action under the Electronic Funds Transfer Act. Settlement of $2.1 million.

ORI V. FIFTH THIRD BANK AND FISERVE, INC. (E.D. WI 2008)
We represent the class on the Lead Class Counsel Committee in this action under the Fair Credit Reporting Act. Settlement valued at over $3 million.

IN RE: BOA CREDIT PROTECTION MARKETING AND SALES PRACTICES LITIGATION MDL DKT. NO. 2269 (N.D. CAL 2011)
We represent the proposed class as co-counsel. Settlement of $20 Million currently pending.

IN RE: CHASE BANK USA, N.A., “CHECK LOAN” CONTRACT LITIGATION – MDL DKT. NO. 2032 (N.D. CAL 2009)
We represent the proposed class as co-counsel. Settlement of $100 Million currently pending

KARDONICK ET AL., V. J.P. MORGAN & CO. CHASE (S.D. FL 2010)
We represent the class as co-counsel. Settlement of $21.5 Million.

IN RE: COUNTRYWIDE FINANCIAL CORP. CUSTOMER DATA SECURITY BREACH MDL DKT. NO. 1998 (W.D. KY 2008)
We represented the class as co-counsel in this action. Settlement value estimated over $200 million.

IN RE: HEARTLAND PAYMENT SYSTEMS, INC., CUSTOMER DATA SECURITY BREACH MDL DKT. NO. 2046 (S.D. TX 2009)
We represented the class as a member of the Steering Committee in this action. Settlement valued at over $4.5 million.

IN RE: HYUNDAI HORSEPOWER LITIGATION CA. SUP. CT. (2003)
We represented a United States and Canadian class of purchasers of Hyundai motor vehicles as co-counsel. Settlement of more than $100 million.

IN RE OCEAN BANK FINANCIAL CORP. PRE-SCREENING LITIGATION - MDL DKT. NO. 1998 (N.D. IL 2006)
We represented a Wisconsin class as Lead Counsel in this action under the Fair Credit Reporting Act.

BERNAL V. AMERICAN MONEY CENTERS, INC. (E.D. WI 2005)
We represented a Wisconsin class as Lead Counsel in this action under the Fair Credit Reporting Act.

SEEGER V. AFNI, INC. (E.D. WI 2005)
We represented the class as Lead Counsel in this action under the Fair Debt Collection Practices Act.

BEATTIE V. CAPITAL ONE BANK (E.D. WI 2005)
We represented the class as Lead Counsel in this action under the Fair Debt Collection Practices Act.



         REPRESENTATIVE RECENTLY FILED CONSUMER CLASS ACTIONS:
                     IN RE: GOOGLE INC. COOKIE PLACEMENT CONSUMER PRIVACY LITIGATION MDL NO. 2358 (D. DEL 2012)

                   IN RE: TROPICANA ORANGE JUICE MARKETING AND SALES PRACTICES LITIGATION MDL NO. 2353 (D. NJ 2012)

                         IN RE: H&R BLOCK REFUND ANTICIPATION LOAN LITIGATION MDL DKT. NO. 2373 (N.D. IL 2012)

                           IN RE: LIBERTY REFUND ANTICIPATION LOAN LITIGATION MDL DKT. NO. 2334 (N.D. IL 2012)

                             IN RE: CARRIER IQ, INC., CONSUMER PRIVACY LITIGATION MDL NO. 2330 (N.D. CAL 2011)

                                          BOULET V. NATIONAL PRESTO INDUSTRIES, INC. (W.D. WI 2011)

                                    CLEMINS V. ALLIANCE DATA SYSTEMS CORPORATION ET AL (E.D. WI 2011)

                                                CLEMINS ET AL V. GE MONEY BANK (E.D. WI 2011)

                                  ALLEE V. SONY COMPUTER ENTERTAINMENT AMERICA, INC.. – (E.D. WI 2010)

     IN RE: TOYOTA MOTOR CORP. UNINTENDED ACCELERATION PRODUCTS LIABILITY LITIGATION – MDL DKT. NO. 2151 (C. D. CAL 2009)

                 IN RE: LIGHT CIGARETTES MARKETING AND SALES PRACTICES LITIGATION. – MDL DKT. NO. 2068 (D. ME 2009)

                                         PETLACK V. SC JOHNSON & SON INCORPORATED (E.D. WI 2008)
